            Case 2:94-cv-06649-JD Document 29 Filed 12/31/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SULAIMAN MUJAHID TAALIBDIN,                                  CIVIL ACTION
               Petitioner,

                v.
                                                              NO. 94-6649
 KENNETH D. KYLER, THE ATTORNEY
 GENERAL OF THE STATE OF
 PENNSYLVANIA and THE DISTRICT
 ATTORNEY FOR PHILADELPHIA
 COUNTY,
                Respondents.

                                            ORDER

       AND NOW, this 30th day of December, 2020, upon consideration of pro se petitioner

Sulaiman Mujahid Taalibdin’s Motions for Relief From Judgment Pursuant to Federal Rule of

Civil Procedure 60(b)(4) (Document No. 25, filed May 27, 2020 and Document No. 27, filed

June 30, 2020), for the reasons stated in the accompanying Memorandum dated December 30,

2020, IT IS ORDERED:

       1.      To the extent the Motions challenge this Court’s jurisdiction over pro se petitioner

Taalibdin’s initial habeas corpus petition and all habeas corpus petitions filed thereafter, the

Motions are DENIED;

       2.      To the extent the Motions challenge pro se petitioner Taalibdin’s conviction and

sentence in state court for lack of subject matter jurisdiction, they are DISMISSED WITHOUT

PREJUDICE to pro se petitioner’s right to seek authorization from the United States Court of

Appeals for the Third Circuit to file a second or successive petition for writ of habeas corpus.

See 28 U.S.C. § 2244(b)(3)(A).

       IT IS FURTHER ORDERED that a certificate of appealability will not issue because

reasonable jurists would not debate (a) this Court’s decision that the petition does not state a
           Case 2:94-cv-06649-JD Document 29 Filed 12/31/20 Page 2 of 2




valid claim of the denial of a constitutional right, or (b) the propriety of this Court’s procedural

ruling with respect to petitioner’s claims. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529

U.S. 473, 484 (2000).



                                               BY THE COURT:

                                               /s/ Hon. Jan E. DuBois
                                               ___________________________________
                                               JAN E. DUBOIS, J.
